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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 ABEL GARZA,                               §
                                           §
       Plaintiff,                          §
                                           §
 V.                                        §
                                           §          No. 3:23-CV-0027-D
 ENERGY TRANSFER PARTNERS,                 §
 L.L.C. and LA GRANGE                      §
 ACQUISITION, L.P.,                        §
                                           §
       Defendants.                         §
                                      ORDER

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed.     The undersigned district

judge reviewed the proposed findings, conclusions, and recommendation for plain

error. Finding none, the court adopts the findings, conclusions, and recommendation

of the United States Magistrate Judge.

      SO ORDERED.

      February 28, 2025.

                                               ________________________________
                                               SIDNEY A. FITZWATER
                                               SENIOR JUDGE
